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                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA



STEMCOR USA INC.                                              CIVIL ACTION


VERSUS                                                        NO: 12-2966 c/w 12-
                                                              2968-HGB-SS
CIA SIDERURGICA DO PARA
(COSIPAR) and AMERICA METALS
TRADING LLP

                                         ORDER

MOTION FOR LEAVE TO INTERVENE BY ABN AMRO BANK N.V. (Rec. doc. 36)

GRANTED

     For the reasons presented by ABN AMRO Bank N.V. (“ABN AMRO”),

     IT IS ORDERED that ABN AMRO’s motion for leave to intervene (Rec. doc. 36) is

GRANTED.

     New Orleans, Louisiana, this 2nd day of January, 2013.




                                                               SALLY SHUSHAN
                                                          United States Magistrate Judge
